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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                 :

             v.                          :              Case No. 23-342-JEB

PETER KRILL, Jr.                     :
____________________________________




                  DEFENDANTS SENTENCING MEMORANDUM


      Peter Krill, through his attorney Maggie F. Moy, Assistant Federal Public

Defender, District of New Jersey, respectfully submits this sentencing memorandum on

his behalf for this Court’s consideration at his sentencing hearing scheduled for Friday,

February 9, 2024 at 2:00 p.m. For the reasons set forth below, defense counsel submits

that a sentence of 10 months’ home detention as part of a 34-month term of probation, to

include 250 hours of community service and $2000 restitution, is sufficient but not greater

than necessary to satisfy both the mandate and purposes of 18 U.S.C. § 3553(a).


                                   Procedural History

      On December 14, 2022, a sealed complaint was filed against Peter Krill, Jr.. The

complaint charged Mr. Krill with participating in the January 6, 2021 attack on the

Capitol. On December 15, 2022, Mr. Krill was arrested on a warrant signed by U.S.

Magistrate Robin M. Meriweather. Following his arrest in New Jersey, Mr. Krill
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voluntarily gave a taped confession, admitting that he participated in the Capitol riot,

identifying photos of himself and videos he posted. That same day, he appeared by

videoconference for his initial appearance in the District of New Jersey. Counsel was

appointed, and Mr. Krill was released on an unsecured bond with conditions of release.

On December 22, 2022, Mr. Krill appeared before U.S. Magistrate Judge Moxila A.

Upadhyaya for his first appearance in this District. Defense counsel was again appointed

and Mr. Krill was continued on bail with conditions.

       On October 10, 2023, Mr. Krill appeared before Your Honor, waived indictment,

and pled guilty to one-count information charging him with civil disorder, in violation

of 18 U.S.C. § 231(a)(3). A presentence report was ordered, and sentencing was scheduled

for January 9, 2024.    Counsel filed a consent motion to continue sentencing and this

matter was rescheduled for February 9, 2024. On January 5, 2024, the draft report was

completed and Mr. Krill, through counsel, provided minor typographical corrections to

the report. The final presentence report was filed on February 2, 2024.


                                  Guideline Calculations

       Both parties are in agreement with the guideline calculations in the presentece

report (PSR) prepared by the US Probation Office. Mr. Krill’s criminal history category

is II, his total offense level is 11, and his advisory guideline range is 10 to 16 months. See

¶¶ 39, 50, and 98.




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                     APPLICATION OF 18 U.S.C. § 3553(a) TO MR. KRILL

          As this Court is aware, the procedural requirements of post-Booker 1 sentencing are

well established. Briefly, sentencing courts must (1) properly calculate the Guideline

range; (2) rule on any departure motions made under the Guidelines; and (3) exercise

post-Booker discretion by choosing a sentence in light of all relevant § 3553(a) sentencing

factors, “regardless [of] whether [the chosen sentence] varies from the sentence calculated

under the Guidelines.” United States v. Gunter, 462 F.3d 237, 247 (3d Cir. 2006). The

Court’s final determination on a sentence must reflect “§ 3553(a)'s overreaching

instruction to ‘impose a sentence sufficient, but not greater than necessary’ to accomplish

the sentencing goals advanced in § 3553(a)(2).” United States v. Kimbrough, 128 S.Ct. 558,

575 (2007). Those purposes can best be summarized as punishment, deterrence,

incapacitation, and rehabilitation.

          The “sufficient, but not greater than necessary” requirement is often referred to as

the “parsimony provision.” The parsimony provision is not simply another factor to be

considered along with the others set forth in § 3553(a); it actually imposes a separate and

independent limit on the sentence a court may impose. See United States v. Denardi, 892

F.2d 269, 276-77 (3d Cir. 1989) (Becker, J., concurring in part, dissenting in part) (since §

3553(a) requires the sentence to be no greater than necessary to meet four purposes of

sentencing, imposition of a sentence greater than necessary to meet those purposes is


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    United States v. Booker, 543 U.S. 220 (2005).
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reversible, even if within the guideline range). Thus, under § 3553(a), courts are required

to impose a sentence below the guideline range if such a sentence would be sufficient to

achieve the purposes of sentencing.

       In applying the § 3553 factors to Mr. Krill and the instant offense, counsel submits

that a sentence of 10 months’ home detention as part of a 34 month term of probation, to

include 250 hours of community service and $2000 restitution, satisfies both the mandate

and the purposes of the statute. Enclosed with this sentencing letter and incorporated as

part of counsel’s argument is are 25 letters, along with photographs, collectively

identified as Exhibit A. These letters are from Mr. Krill, his wife, his family members and

in-laws, and members of the community, including several former and current law

enforcement officials. The letters and photographs speak for themselves and provide the

Court with a true understanding of the man Peter Krill was and who he is now.

                     The Nature and Circumstances of the Offense

                    The Events of January 6th and Mr. Krill’s Actions

       On January 6, 2021, a large crowd gathered to hear then-President Donald Trump

hold his last rally on the National Mall. The theme of the rally was “Stop the Steal,” which

was a clear reference to the former President’s claim that the presidential election results

from November 6, 2020 were invalid. It is estimated that over 10,000 Americans from all

over the country came to hear and see the President. When he concluded speaking, many

of these people went home, however, thousands decided to take the President’s


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encouragement to go to the Capitol. They believed his claim that he would join them

there to protest their discontent with the election results and their legitimacy. As we now

know, many of these protesters were intent on rioting and obstructing the election

process through violent, destructive, and illegal means. This included many who came

with weapons, plans, and agendas to cause utter chaos in organized numbers. Peter Krill

was not one of those rioters.

       Peter Krill came to Washington, DC that day to see Donald Trump, whom he

supported and respected. When he arrived in Washington on the morning of January 6,

2021, he never intended to participate in a riot or attack on the Capitol. To the contrary,

he believed that members of Antifa would be present and that he would be the target of

their violence. He wore a helmet and goggles to protect himself. He had no weapon. He

never imagined that it would be supporters of the President who would instigate the

violence. More importantly, he never anticipated, planned, or intended to violate the law

himself. After having turned his life around at the age of 42, for the first time in a decade,

Mr. Krill failed to use the tools of recovery that now govern his daily life. Mr. Krill got

swept away by the emotions of the mob, and with it, so too did his good judgment. He

is mortified by his behavior and completely regrets his conduct. He continues to be

contrite and accepts that his conduct will come with criminal sanctions.

       It is undisputed that Mr. Krill’s actions that day were unlawful. His acceptance of

the Statement of the Offense, drafted by the government, was immediate and sincere.


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The nature of his actions, however, especially in comparison to others in the crowd, must

also be understood and considered. The only affirmatively aggressive action he took was

at the bike rack barriers on the West Front of the Capitol grounds. At 1:35 p.m., he briefly

grabbed the bike rack and pulled backwards. His hands were on the bike rack for a

matter of a seconds. But that action allowed other protestors to push into officers, before

they were pushed back behind the barricade by those same officers. Mr. Krill engaged in

no physical contact – or verbal interaction – with the officers at the bike rack, or anywhere

else that day. About 20 minutes later, Mr. Krill made his way to the scaffolding on the

northwest side where he took the videos he posted to TikTok (see Govt’s Exhibits B and

C). From that location, he made his way to the Upper West Terrace Door and entered the

Capitol, eventually entering the Rotunda. Police offers entered the Rotunda around 3 pm

while Mr. Krill was still present. Govt’s Exhibit D clearly shows that he did not leave

immediately upon request. But it shows much more than that. Mr. Krill’s conduct is

remarkably different from many of the other rioters. He did not push, hit, or assault any

officers in any way. Mr. Krill was nearly silent the entire time he was in the Rotunda.

Unlike many others, Mr. Krill never threatened any officer, nor was he verbally abusive

or offensive in any way; he merely tried to stand his ground before finally acquiescing

and leaving the Rotunda and the Capitol itself.




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                             Mr. Krill’s History and Characteristics

        Peter Krill’s life can be split into two halves: before sobriety and after sobriety. As

a teenager, he started using drugs, was in and out of treatment, left his parents’ home at

16, and became a transient, often-homeless drug user. By the age of 18, he had a felony

conviction for breaking into a car and stealing items. That pattern continued through his

20s, and even into his 30s, when he was arrested for what he believed would be the last

time, in 2004. As he describes in his letter to the Court, while serving that last sentence,

his parents came to see him. He often describes how hard that visit was, for both him

and his parents. They were getting older, raising Pete’s son who they had adopted. Little

did the three of them know how little time they had left together. But that visit changed

the trajectory of his life. He committed to changing his life. Within a year or so, he finally

earned his GED – at 40! But that was not the only change. He committed to sobriety and

for the first time, he took up, embraced, and learned the tools necessary to live a life of a

recovering addict. He was released from prison on October 15, 2009, but his sentence

was not complete until he finished his three-year term of NJ state parole in October 2012. 2

        By the time he was paroled, he had already started corresponding with Estelle

“Stel” Messenger. They began dating, and in 2013, they were married. They are both

recovering addicts and have built a life together on that foundation: recovery and



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 After closer inspection, counsel realized ¶49 of the PSR contains one error: Mr. Krill completed his
three year term of NJ State Parole on October 15, 2012, but his release from custody was three years
earlier.
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sobriety. The letters from their friends and family are a testament to how they changed

their own lives and each other’s. Each and every day, Pete gets up and texts a group of

men with a daily affirmation to help him and them in their recovery. He has helped

family members, friends, and even strangers either obtain sobriety or maintain it. He

changed his life by a complete 180 degrees. He is active in the community, including

being a panelist at the December 13, 2017, “Reprimand or Rehab” program at Rowan

University. See Exhibit B, video of Mr. Krill discussing vocational opportunities and the

NJ Department of Corrections.

       Mr. Krill has spent every day since leaving prison in 2009 dedicated to maintaining

his sobriety. His long success is built on recognizing potential triggers and using the tools

that AA has taught him to avoid and prevent relapse.              Yet, despite all that he

accomplished in the last 15 years, the one thing Mr. Krill never thought he was at risk of

was engaging in criminal conduct again. He had settled down. Made amends with his

family. Created a new, large, blended family with his wife Stel. He started doing

construction and renovation work for friends and family, and has developed a good

reputation within the community. His criminal history was always connected to his drug

use. But when Mr. Krill traveled to Washington, DC on January 6, he did not recognize

that the events of that day were also a trigger. He let his emotions and those of the crowd

overcome his better judgment. While he did not physically accost any officer, verbally

abuse anyone, or even taunt any law enforcement, he knows his actions were inexcusable.


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       Since Mr. Krill’s arrest, he has complied fully with pretrial supervision. He is

described by his friends and family as contrite and regretful. He severed ties with those

with whom he traveled to Washington, DC that day. As evidenced by the letters

submitted by several members of law enforcement, he respects police authority, and the

necessity and value police bring to our society. Mr. Krill accepts that punishment and

sanctions are warranted and respects this Court’s ultimate decision. Counsel submits

that the nature of Mr. Krill’s actions that day, while certainly unlawful, involved no

violence, no threats, and no vitriol toward any officer. When coupled with the life he has

led for the last 15 years, helping others turn from a life of addiction and embrace sobriety

and contribution, the need for a sentence of imprisonment to deter, incapacitate and

rehabilitate is not necessary.

       Yet the need for just punishment remains a factor for this Court to weigh and

consider. Research has consistently shown that while the certainty of being caught and

punished has a deterrent effect, “increases in severity of punishments do not yield

significant (if any) marginal deterrent effects.” Michael Tonry, Purposes and Functions

of Sentencing, Crime & Just. 1, 28 (2006). “Three National Academy of Science panels . . .

reached that conclusion, as has every major survey of the evidence.” Id.; see also Zvi D.

Gabbay, Exploring the Limits of the Restorative Justice Paradigm: Restorative Justice and

White-Collar Crime, Cardozo J. Conflict Resol. 421, 447-48 (2007) (“[C]ertainty of

punishment is empirically known to be a far better deterrent than its severity.”). Finally,


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the need for rehabilitation cannot be met by jailing Mr. Krill more than necessary.

“Imprisonment is not an appropriate means of promoting correction and rehabilitation.”

18 U.S.C. § 3582(a). Accordingly, these factors weigh heavily in favor of a sentence below

the advisory guideline range.

               The Need to Avoid Unwarranted Sentencing Disparities

      Another factor supporting a downward variance is 18 U.S.C. § 3553(a)(6) which

directs courts to consider “the need to avoid unwarranted sentencing disparities among

defendants with similar records who have been found guilty of similar conduct.” Id. The

government raises three other January 6 defendants to support their request for a within

guideline sentence: Moses Romero, Ronnie Presley, and Narayana Rheiner. Yet they

acknowledge that both Romero and Presley physically grabbed and pulled on officers,

neither of which Mr. Krill did. The government’s claim that Mr. Krill’s actions were more

egregious is simply belied by the facts. Mr. Krill did not push the bike rack into any

officer, he pulled it backward and immediately let go. He did post two short videos of

what he observed from the grandstands on TikTok, but those videos were no different

from what was being broadcast on every television station across the country and being

viewed by millions in contrast to Mr. Krill’s videos which were less than 90 seconds,

combined. Finally, Mr. Krill’s attempts to stand his ground when being pushed back by

officers in the Rotunda demonstrated his utter lack of aggression. Again, his demeanor




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was markedly different from others in the Rotunda. While he did not leave immediately,

he did acquiesce, and left peacefully and without any threats or violence.

       As for Rheiner, the government suggests that they are similar because they each

have an extensive record, but the government ignores the fact that Mr. Krill’s last arrest

was nearly 17 years earlier. More importantly, unlike Rheiner, Mr. Krill was not on

supervision at the time of the instant offense; to the contrary, he completed his parole in

2012 and had not incurred any arrests since 2004. Further, Rheiner, unlike Mr. Krill,

deliberately engaged in physical contact with officers. See Rheiner Govt Sent Memo, Dkt.

Entry 34, p 2. According to the government, Rheiner grabbed an officer’s riot shield,

pulling it from the officer after a struggle, causing the officer to fall downs several steps

before landing on the ground. Id. In no way are his actions or criminal history similar or

comparable to Mr. Krill’s.

       The government is correct about one thing, however, no other “case contains the

same balance of aggravating and mitigating factors” present in Mr. Krill’s case. Frankly,

that is true in almost every sentencing. Counsel suggests rather than splitting hairs about

individual facts of each case, this Court should consider the frequency of below guideline

sentences of other defendants charged exclusively or primarily with a violation of §

231(a)(3), especially those whose total offense level was 11 based on the § 231(a)(3)

offense. Defendants such as:




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•   Aaron Mostofsky, 1:21-cr-00138-JEB whose offense level was 13, CHC I, guideline

    range 12-18 months, and was sentenced to 8 months’ incarceration;

•   David Blair, 1:21-cr-00186-CRC whose offense leve was 11, CHC I, guideline range

    8-14 months, and was sentenced to 5 months’ incarceration;

•   Robert Fairchild, Jr, 1:21-cr-00551-TFH, whose offense level was 11, CHC I,

    guideline range 8-14 months, and was sentenced to 6 months’ incarceration;

•   John Gordon, 1:21-cr-00343-RC, whose offense level was 11, CHC III, guideline

    range 12-18 months, and was sentenced to 6 months’ incarceration;

•   Geoffrey Shough, 1:22-cr-00197-DLF, whose offense level was 11, CHC I, guideline

    range 8-14 months, and was sentenced to 6 months’ incarceration;

•   Bernard Sirr, 1:22-cr-00259-TNM-1, whose offense level was 11, CHC I, guideline

    range 8-14 months, and was sentenced to 2 months’ incarceration;

•   Luke Lints, 1:22-cr-00259-TNM-2, whose offense level was 11, CHC I, guideline

    range 8-14 months, and was sentenced to 4 months’ incarceration;

•   Jonathan Rockholt, 1:23-cr-00104-TNM, whose offense level was 11, CHC II,

    guideline range 10-16 months, and was sentenced to 5 months’ incarceration;

•   Brian Peller, 1:23-cr-00045-TNM-1, whose offense level was 11, CHC I, guideline

    range 8-14 months, and was sentenced to 60 months’ probation, with 8 months

    location monitoring;




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   •   James Davis, 1:21-cr-00595-TJK, whose offense level was 11, CHC I, guideline

       range 8-14 months, and was sentenced to 2 months incarceration and 6 months

       home detention;

   •   Larry Giberson, 1:23-cr-00115-CJN, whose offense level was 11, CHC I, guideline

       range 8-14 months, and was sentenced to 2 months incarceration and 6 months

       home detention; and

   •   Joseph Pavlik, 1:23-cr-00045-TNM-3, whose offense level was 12, CHC I, guideline

       range 10-16 months, and was sentenced to 60 days incarceration plus 6 months

       home detention.

       No two cases are exactly alike, but the list above makes it clear that imposition of

a within-guideline sentence is not the norm for January 6 defendants charged solely or

primarily with civil disorder. To the contrary, most have been sentenced one or more

levels lower than the calculated offense level. While most have received a term of

imprisonment, at least one other, Brian Peller, received a lengthy term of probation with

location monitoring. Several others also received terms of home detention. Based on the

specific facts of Mr. Krill’s case, counsel submits that in order to avoid an unwarranted

sentencing disparity, a sentence below the guidelines is warranted in this matter.

        Mr. Krill’s Medical Considerations Warrant a Non-Custodial Sentence

       In addition to the other reasons set forth above, there is one more factor which

supports a non-carceral sentence for Mr. Krill. As the set forth in the presentence report,


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Mr. Krill suffers from several chronic and severe medical conditions.




        Mr. Krill has several other medical issues. He suffers from carpal tunnel in both

wrists, for which he recently underwent two surgeries to fuse his wrists. He has several

bulging discs and suffers from chronic pain in both shoulders due to rotator cuff injuries.

Because he is a recovering addict, he cannot take any prescription pain medication for

more than a day or two. Anything longer and he is at risk for relapse. Mr. Krill’s pain

has increased over the years. Over the years, he sought alternative methods to relieve his

pain:    chiropractic medicine, acupuncture, cryo-chamber treatment, trigger-point

injections, nerve-burning; all to no avail. Sometime in 2017, the increased pain became


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intolerable, and he finally agreed with his doctor’s advice and obtained a medical

marijuana card. He had been reluctant to do so; medical marijuana is frowned upon by

old-school AA members, and he did not want to risk his sobriety, but the pain had

become unmanageable. The medical marijuana was the first treatment to help relieve his

pain, and more importantly, did not act as a trigger for drug relapse. When he was

arrested on the instant offense, it did not occur to him to mention his medical card.

Sometime after his first appearance in this district, the issue was raised and he was told

he could no longer use medical marijuana. Mr. Krill accepted the order of the magistrate

judge and tried to cope as counsel researched his legal options. Within a matter of weeks,

Mr. Krill was in excruciating pain. Both he and his wife acknowledge that when he is

unable to obtain pain relief, he withdraws, becomes easily frustrated, and unable to cope

with activities of daily living. His wife thought he was at the breaking point when

counsel’s legal research came upon Marinol, or Dronabinol, a synthetic form of

tetrahydrocannabinol (THC), the main psychoactive ingredient found in marijuana.

Dronabinol is available by prescription and is known to reduce neuropathic pain.

Unfortunately, and not surprisingly, it is not on the BOP’s formulary of approved drugs.

Mr. Krill will be unable to receive Dronabinol if he is incarcerated. Without it, he will be

subject to excruciating pain day after day. Not only is he terrified of what it will do to his

body and mind, his greatest fear is its impact on his sobriety. For Mr. Krill, a sentence of

incarceration means a sentence of prolonged physical and mental pain, putting him at


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risk of relapse should he need to use prescription pain medication for any extended

period.

                                     CONCLUSION

       If this Court believes that the only just sentence must include a term of

incarceration, counsel requests that the Court impose a sentence of intermediate

punishment, specifically weekend sentences, for whatever length of time this Court

believes is appropriate.




                                                       . Further, imposition of weekend

sentences will allow Mr. Krill to continue using Dronabinol during the week. While he

will still experience significant pain as he serves each weekend sentence, it will not have

the same dire consequences that living without any pain management for months at a

time would.

       For the reasons stated above Peter Krill respectfully requests that the Court impose

a sentence of 10 months’ home detention as part of a 34-month term of probation, to

include 250 hours of community service and $2000 restitution.

                                          Respectfully submitted,
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